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         ORDERED in the Southern District of Florida on June 2, 2023.




                                                             Mindy A. Mora, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov

        In re:

        TINTO HOLDING LTDA.,                                                  Chapter 15
                                                                              Case No.: 23-11719-MAM
                 Debtor in a Foreign Proceeding.
                                                   /

             INTERIM ORDER GRANTING FOREIGN REPRESENTATIVE’S EXPEDITED
                 MOTION TO TEMPORARILY SEAL ADVERSARY PROCEEDING

                 This cause came before the Court on May 31, 2023, upon the Expedited Motion to

        Temporarily Seal Adversary Proceeding (the “Motion”) filed by the Foreign Representative1 of

        the bankruptcy estate of Tinto Holding Ltda., (the “Debtor”). The Court has reviewed the Motion

        and is otherwise informed on the matter. Accordingly, it is hereby:

                 ORDERED and ADJUDGED that:

            1. The Motion is GRANTED on an interim basis.



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         The Motion was filed by the prior officeholder, but this morning the Court entered its Order
        Granting Motion to Substitute Foreign Representative, acknowledging that AJ Ruiz Consultoria
        Empresarial S.A. is substituted as Foreign Representative in this Chapter 15 case.
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   2. The clerk shall seal adversary proceeding Case No. 23-01118-MAM filed by the Foreign

      Representative on May 24, 2023, and it shall remain under seal pending further order of

      the Court.

   3. The docket of the adversary proceeding and the names of the defendants therein shall be

      maintained under seal and shall not be available to the public, unless and until the Court

      orders otherwise.

   4. The Foreign Representative shall serve the complaint, the Motion and this Order upon the

      defendants in the adversary proceeding in the manner required by applicable law and the

      Court will conduct a continued hearing to consider the position of the defendants and any

      further developments to determine whether to extend the temporary seal, lift or decline to

      extend the temporary seal, or to implement different protections.

   5. The Court shall conduct a continued hearing on the Motion on September 28, 2023 at

      10:00 a.m., solely by videoconference. To participate in the hearing remotely via Zoom

      (whether by video or by telephone), you must register in advance no later than 3:00 p.m.,

      one business day before the date of the hearing.

   6. To register, click on or enter the following registration link in a browser:

      https://www.zoomgov.com/meeting/register/vJItdumqrzstGdoBW4nz6tq3IJmn8ydPxj4.

   7. If a party is unable to register online, please contact Maria Romaguera, Courtroom Deputy,

      at 561-514-4109 or email Maria_Romaguera@flsb.uscourts.gov.

   8. All participants must observe the formalities of the courtroom, exercise civility, and

      otherwise conduct themselves in a manner consistent with the dignity of the Court. This

      includes appropriate courtroom attire.

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Submitted by:

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